Case 1:21-cv-00418-WMR-LTW Document1 Filed 01/27/21 Page 1 of 20

 

 

PrOSes? (Rows 126)t7)iGomplaintitor Employment Discrimination FILED IN CLERK’S OFFICE
U.S.D.C. Atlanta
UNITED STATES DISTRICT COURT JAN 27 2021
for the

_ HATTEN, Cler'
Northern .tict of Georgia ues Clerk

3 Spy venous
Northern Division

cen, 1221-CV-0418

(to be filled in by the Clerk’s Office)

 

Ronald s.Royal
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-V-

 

Jury Trial: (check one) (K Yes O No

Terry Nix Equipment Rentals LLC

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

 

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COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

needed.
Name Ronald s. Royal
Street Address 7110 Hiram Douglasville Hwy.
City and County Douglasvile...Paulding
State and Zip Code Georgia 30134
Telephone Number

 

E-mail Address

 

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person’s job or title (if/known). Attach additional pages if needed.

Page 1 of 6
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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Deteaent Nps! Terry Nix Equipment Rentals LLC

 

 

 

 

 

 

Name

Job or Title (if known) Owner Operator

Street Address POBox 580

City and County TRYONE. FAYETTE
State and Zip Code GEORGIA. _ 30290
Telephone Number (404) 202-3053
E-mail Address (ifknown) N/A

 

Defendant No. 2

Name

 

Job or Title (if known)

 

Street Address

 

City and County
State and Zip Code

 

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

 

 

 

 

Cc. Place of Employment
The address at which I sought employment or was employed by the defendant(s) is
Name Terry Nix Equipment Rentals LLC
Street Address POBox 580
City and County Tyrone. . Fayette
State and Zip Code Georgia, 30290
Telephone Number (404) 202-3053
Il. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

Oo

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal law):

Wrongful Termination , Disability Discrimination

Relevant state law (specify, if known):

 

 

Relevant city or county law (specify, if known):

 

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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Ill. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

MoagwWawmwW da

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

inati Disabily Discrimunation
Other acts (specify), Wrongful Termination Sabily Viscrimunatlo

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

 

 

 

 

 

 

 

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
08/01/2019
C. I believe that defendant(s) (check one):
O is/are still committing these acts against me.
x is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain):
Oo race
Oo color
Oo gender/sex
O religion
o national origin
Oo age (year of birth) (only when asserting a claim of age discrimination.)
Pz] disability or perceived disability (specify disability)
Temporary loss of use of right hand
E. The facts of my case are as follows. Attach additional pages if needed.

The surgery in question was on 08/01/2019 , leaving the surgical center i contacted the
defendant mr, nix by phone ,i was informed of my layoff for lack of work and being a
liabilty ,also i was refused any discharge papers as stated by union agreement which in

fact also breeches our contract , also no accomodation was offerd ,

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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

 

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

01/31/2019
B. The Equal Employment Opportunity Commission (check one):
o has not issued a Notice of Right to Sue letter.
pz issued a Notice of Right to Sue letter, which I received on (date) | i LA 20.9. o-

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

Cc. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

Oo 60 days or more have elapsed.

Oo less than 60 days have elapsed.

Vv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

| ask The Court to Orderin The Sum Of 10,000.00 Dollars For Medical Expences Out Of. Pocket,
Also 20,000.00 Dollars For Monies. For Bills Due To The Use Of Credit Card Debt From
Power , gas , phone, insurance, Health Insurance , HouseAMaintence, food To Feed my Family
Also Exemplary And Punitive Pain And Suffreing Not Being Able To have My second surgery

The Additional sum of 330,000.00 dollars Totaling 360,000.00 Dollars For Continuing And Everyday
pain for 17 months , But i will honour The Judges, Court Or Jurys Decision in The Amount Decided

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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,

and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: 01/25/2021

Paral § hoya

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

Ronald s Royal

 

 

 

 

 

 

 

 

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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)

From: Atlanta District Office
100 Alabama Street, S.W.
Suite 4R30
Atlanta, GA 30303

EEOC Forn 161-6 (11/16)

To: Ronald &. Royal
7110 Hiram Douglasville Hwy
Douglasville, GA 30134

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Representative Telephone No.
Briggette K. Woodard,
410-2020-02329 investigator (404) 562-6820

 

(See also the additional information enclosed with this form.)

NOTICE TO THE PERSON AGGRIEVED:

Title Vil of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Titie Vil, the ADA or GINA based on the above-numbered charge. it has
been issued at your request. Your lawsuit under Tite Vii, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS

of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing sult based on a claim under
state law may be different.)
[2] — More than 180 days have passed since the filing of this charge.
[__] Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.
[3] The EEOC is terminating its processing of this charge.
[_] The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to

your case:

[] The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be fost.

[] The EEOCis continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for wiliful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

if you file suit, based on this charge, please send a copy of your coust complaint to this office.

 

; For 11/10/2020
Enclosures(s) Lo] Darrell E. Graham, ee

District Director

ce: ‘ Anita Clark
Minck
David DeMinc THE CONSENSUS GROUP
SPIELBERGER LAW GROUP 4015 Tyrone Rd.
Suite 620

4890 W. Kennedy Bivd. Ste. 950

Tampa, FL 33609 Tyrone, GA 30290
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Enclosure with EEOC
Form 181-8 (11/16)

INFORMATION RELATED TO FILING Suit
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
ff you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE Suit RIGHTS

in order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the cierk of the court where you are bringing suit, but do not expect that office to write your complaint ©
or make legal strategy decisions for you.

PRIVATE Suit RIGHTS ~- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 - in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Titie Vil, the ADA, GINA or the ADEA referred to above.
Therefore, if you also pian to sue under Title Vil, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION = Title Vil, the ADA or GINA:

{f you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC AssISTANCE — _ All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a tawyer or if you have any
questions about your tegal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this

information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at

http://www.eeoc.gov/laws/types/disability regulations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

» The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

» In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §

1630.2(/)), “major life activities” now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ

within a body system.

Only one major life activity need be substantially limited.

With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is a disability if it would be substantially limiting when active.

>» An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months.

VV

“Regarded as” coverage:

>» An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

> The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability regulations.cfm.
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EEOC Form 5 (11/09) :

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act J _FEPA
Statement and other information before completing this form.
[x] EEoc 410-2020-02329
and EEOC
State or local Agency, if any

Name (indicate Mr., Ms., Mrs.) : : Home Phone (Incl. Area Code) |- Date of Birth
Ronald S. Royal (404) 304-9203 — oo
Street Address City, State and ZIP Code
7110 Hiram Douglasville Hwy. Douglasville, GA 301 34

 

Named is the Emptoyer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (if more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

 

 

Name : . No. Employees, Members Phone No. (include Area Code)

TERRY NIX EQUIPMENT LLC 15-100 (404) 202-3053

Street Address City, State and ZIP Code

PO Box 580 Tyrone, GA 30290

Name No. Employees, Members Phone No. (Include Area Code)

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE | COLOR [| SEX [| RELIGION [| NATIONAL ORIGIN 08-01-2019 08-01-2019

RETALIATION [} AGE [x] DISABILITY ["} GENETIC INFORMATION
[| OTHER (Specify) . . [| CONTINUING ACTION

 

 

THE PARTICULARS ARE (/f additional paper is needed, attach extra sheet{s)):

| was hired by the above-named employer on March 24, 2019, as Journeyman Operating Engineer. On
August 1, 2019, | had a surgery. | was discharged the day of my surgery.

The reason given for my discharge was lack of work.

-! believe that | have been discriminated against because of my disability in violation of Title | of the American
with Disabilities Act of 1990, as amended.

 

oe

 

| want this charge filed with both the EEOC and the State or local Agency, if any. i | NOTARY — Whefi fiéeessary far State arid Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

 

procedures. | swear or affirm that | havé fead the-ab6Vé:6harge and that it is true to
| declare under penalty of perjury that the above is true and correct. © the best of my knowledge,-iffofmation afid belief.
SIGNATURE OF COMPLAINANT

Kp le fh SUBSCRIBED AND awoRN 0 gaFORE: fale or abe?
Jan 31, 2020 (month, day, year)

Charging Party Signature

 

 

 
Cho hy BOAT BITRE A Eee ater LY SRLS PAN page 11 of 20
PRE-CHARGE INQUIRY ji

 

For Official Use Only — inquiry Number: |

 

 

 

 

Thank you for contacting the U.S. Equal Employment Opportunity Commission (“EEOC”). The information you give us on
this Pre-Charge Inquiry (Form 290A) will help us assist you and determine if your concerns are covered by the employment
discrimination laws we enforce. Answer all questions completely and briefly. Please write clearly. :

After completing this Pre-Charge Inquiry, return it immediately to the EEOC office identified in the cover letter to this Pre-
Charge Inquiry, or to the receptionist if you are completing this Pre-Charge Inquiry in an EEOC office.

Please note: This Pre-Charge Inquiry is not a Charge of Discrimination.

The Pre-Charge Inquiry is not intended for use by applicants for federal jobs or employées of the US government. See
http: Liwww: eeoc.gov/federal/fed_employees/complaint_overview.cfm for discrimination complaints in federal jobs.

 

First Name: Kirt! __ MES” Last Name: Kal

Home Phone: HOY 30% D8 <.. U MH PLI3 AGS Emon: Skee StapAte! s0@) pre: ann
Address: WofranDougasvil le HY Apt.:

aes City: Muelle County: feelloy State: &A- Zip code LUBY

information What is the best way to reach you? Le/l 304 ~G9Y 03

What are the best days and times to reach you? ay ] jn? 7days G emook

| Do you need language assistance? Yes 0 No a

 

If so, what do you need?

   

Date of Birth: # Sex: Male Female 1)

General information about you that will allow us to serve all individuals better:
i. Are you Hispanic or Latino? Yes No

ii. What is your race? Choose all that apply: American Indian or Alaskan Native = Asian 0

Black or African American 0 _— Native Hawaiian or Other Pacific Islander 0 White er |
iii. What is your National Origin or ancestry? usA —_amerilan forr)

 

 

Employer oy Union 0 Employment Agency 01 Other Organization 0 oo

Organization Name:

Who do you think —
discriminated Address: Pp 0G 0x § €D Suite:

against you? city: 7 Y ROS County: Payette state: A Zip Codexst U270

Name of Human Resources Director or Owner: teEeey M1 NI Xx

Email: Phone: Vey) 02-03

 

 

 

 

THIS PRE-CHARGE INQUIRY IS NOT A CHARGE OF DISCRIMINATION
_What réaseins} 2+

were you given for
this job action?

AUSQNS SD Ws Ten Las 2inye nid 2F CaSO leit I zeppiiing vaP
Susi Kealh oT tke Gry Je

Who told you this? Tey LIK His or Her Job Title: Ong OF Gar

 

What is your job,
previous job, or
the job you applied
for?

 

Date Hired: 2 / AY clo/9 sob Title at Hire: Dokdinewian Ofearing Lnyimees~_
. 3 ¥ do Ac ooh
Annual Pay Rate When Hired: ‘ Last or Current Annual Pay Rate: 3S; 4

Job Title at Time of Alleged Discrimination: INO) ait Co

Date Your Employment Ended: “7 3h dol 5 Select One: Quit 0 Discharged/Laid off haf
Name and Title of your Immediate Supervisor: Da/e Weld

Job Applicants - What was the title of the job you applied for:
Date youapplied: / / Date feu found out you were not hired: _/_/

 

 

Was another person in the same or similar situation treated the same, better, or worse than you?
EXAMPLES: Who else applied for the same job? Who else had the same attendance record? Who else had the same

performance appraisal?

 

1. Name: OCLE MONCL ie Job Title: Souuney Ofpering 7

Email: Check how they are different from you:
RaceO ColorO ReligionOh SexO. NationalOriginOD Age a Disability O

 

 

 

 

 

 

 

 

 

 

 

 

 

 

erie thane? How were they treated better? i é Hed (2741 anschadulad Oferar7on G. week fz)
Lhe, Gad feTumed YO Wt JC lec Doct Ldappate: Fb) A/F
2. Name: . Job Title:
Email: Check how they are different from you:
RaceO cColorO ReligionD SexO NationalOrignO Age O Disability O
How were they treated better?
Date: ff
Name: _/270 Ore Job Title:
Who wastreated | Email: : _ Check how they are different from you:
WORSE Etat you? RaceOh ColorO ReligionO SexO) NationalOrignOl Age O Disability a)
How were they treated worse? 7 4/3 S The. only Liproyae Laid. OFF
Date: / /
Name: /70. OAL, Job Title:
Who wastreated | Email: : _ Check how they are different from you:
the SAME as you? | RaceO Color Religion Sex NationalOrignOl Age O Disability O

 

‘How were they treated the same?

 

Date: _/ /

 

 

THIS PRE-CHARGE INQUIRY IS NOT A CHARGE OF DISCRIMINATION
 

Case 1:

_ Are there any
witnesses to any of
the job actions
taken against you?
If yes, please

i Name: Y4Ae ‘bpale. LORS ment 1 Filed Ol/2 721. aqme aber
Email: Phone:{  )

What will they tell us? 201A73, He Ewes piney To ep Lvuflone
Quit, Tue rries Je CONTE Them No age AV Qnskeg Myce

 

 

“<r

 

 

 

 

 

 

 

 

 

 

 

 

provide their 2. Name: Job Title:
contact
information and | Email: Phone: (_}
tellus what they | What will they tell us? |
will say.
Have you already
filed a charge on Yes} No a?
this matter with | If yes: Date you filed: ff Charge Number:
the EEOC?
Have you filed a Yes 0 No &~
complaint on this
matter with If yes: Agency name:
another agency? | pate you filed: jf Complaint Number: :
Do you have Yes O] No Ci
someone if yes: Attorney Oo Union 0 ‘Other O
representing you in ; : .
this matter? Name: DateofContact:  / f/f
Email: Phone:

 

 

 

 

Who can we
contact if we are
unable to reach
you?

Name: Cah Z Kova / Relationship: Dfeuese
Address: 7// @ Kiam Danas Hey City: Dougan )bestate: 6) Zip Code: 3ISY
Home Phone: (#4307 PME cell: HA BA Fae

Email:

 

 

Privacy Act
Statement

 

This form is covered by the Privacy Act of 1974: Public Law 93-579. Authority for requesting personal data
and the uses thereof are: 1) EEOC PRE-CHARGE INQUIRY, FORM 290A, ISSUED OCTOBER 2017. 2) AUTHORITY.
42 U.S.C. § 2000e-5(b), 29 U.S.C. § 211, 29 U.S.C. § 626. 42 U.S.C. §12117(a). 3) PRINCIPAL PURPOSE. The
purpose of this form is to solicit information about claims of employment discrimination, determine whether
the EEOC has jurisdiction over those claims, and provide charge counseling, if appropriate. 4) ROUTINE USES.
EEOC may disclose information from this forth to other state, local and federal agencies as appropriate or
necessary to carry out the Commission’s functions, or if EEQC becomes aware of a civil or criminal law
violation. EEOC may also disclose information to respondents in litigation, to congressional offices in response
to inquiries from parties to the charge, to disciplinary committees investigating complaints against attorneys
representing the parties to the charge, or to federal agencies inquiring about hiring or security clearance
matters. 5) WHETHER DISCLOSURE IS MANDATORY OR VOLUNTARY AND EFFECT ON INDIVIDUAL FOR NOT
PROVIDING INFORMATION. Providing this information is voluntary but the failure to do so may hamper the
Commission’s assessment of your situation. It is not mandatory that this form be used to provide the
requested information. EEOC Pre-Charge Inquiry, Form 290A, issued October 2017.

 

 

Please note: You must file a charge of job discrimination within 180 days from the day you knew about the discriminatian,
or within 300 days from the day you knew about the discrimination if the employer is located where a state or local
government agency enforces job discrimination laws on the same basis as the EEOC’s laws. This Pre-Charge Inquiry is not
a charge. If you would like to file a charge of discrimination immediately, contact the EEOC office on the cover letter. We
recommend that you keep a copy of your completed Pre-Charge Inquiry and the Cover Letter for your records.

 

 

THIS PRE-CHARGE INQUIRY IS NOT A CHARGE OF DISCRIMINATION
Unintended recipionild are uhrected Yo Securely dectay any Waterals received! bu dre heteby hothice that tieinalthaniead Sisclosure or
other unlawful use of this fax or any personal health information is prohibited. To the extent patient information contained in this fax is subject
to 42 CFR Part 2, this regulation prohibits unauthorized disclosure of these records.

If you received this fax in error, please visit www.athenahealth.com/NotMyF ax to notify the sender and confirm that the information will be
destroyed. If you do not have intemet access, please call 1-888-482-8436 to notify the sender and confirm that the information will be
destroyed. Thank you for your attention and cooperation. [I0:18615195-H-327]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Surgery Order
07/01/2019
| From Provider _||To Provider |
ORTHOATLANTA, L.L.C.
PAULDING
148 Bill Carruth Pky#120
HIRAM, GA 30141-3756
Phone: (770) 445-5666
Fax: (770) 445-0799
Patient information
[Patient Name ‘|[ROVAL, RONALD S PATIENT ID # 907844
|Sex \jma
|DOB 4
[age [[s8ye
Address eS HIRAM DOUGLASVILLE HWY
DOUGLASVILLE, GA 30134-6518
Phone \f (404) 304-9203
iW: (404) 202-3053
_|] Mz (404) 304-9203
Primary insurance BCBS-GA (POS)
{| 1D: QSGZ00367035
Policy Holder: ROYAL, RONALD S
| Secondary Insurance |[None recorded.
Diagnosis |"= tunnel syndrome
‘ ICD-10: G56.03: Carpal tunnel syndrome, bilateral upper limbs .
Order Name Orders included: 1

 

' || Carpal tunnel syndrome
ICD-10: G56.03: Carpal tunnel syndrome, bilateral upper limbs
e ENDOSCOPIC CARPAL TUNNEL RELEASE (SURG)
Note to Provider: Right
08/01/2019 @ 12:00pm: CPT: 29848

 

 

ic carpal tunnel release - OASCA on

 

Surgical Assistant?: N
Anesthesia: General

 

Surgery Time: 12:00pm

Side: RIGHT Name of instrument Rep/Company: Southern
Admission Status: Outpatient |} Ortho-Judson

Duration of Procedure (hours): || Medical Clearance Needed?: N

30 minutes Surgery Date: 08/01/2019

 

 

 

Electronically Signed by: DONALD E. FOWLER, Ill MD

 
Case 1:21-cv-00418-WMR-LTW Document1 Filed 01/27/21 Page 15 of 2
Fle Name: ROYAL, RONALD Ags 01, 2019

—

~

OrthoAtlanta Surgery Center Austell Financial Agreement

 

SURGERY DATE ACCOUNTS HOMES WORKS

08/01/19 10383 (404)304-9203  (404)202-3053
PATIENT NAME

RONALD § ROYAL
PATIENT ADDRESS

7110 HIRAM DOUGLASVILLE HWY DOUGLASVILLE GA 30134
PRIMAGY INSURANCE CO.

BLUE CROSS BLUE SHIELD OF GA

PRE-OPERATIVE DIAGROSIS: 2D PHE-OPERATIVE DIAGNOSIS:

CARPAL TUNNEL SYNDROME BILATERAL UPPE

SCHEDULED PROCEDURES - Eetimated Patient
CPT Code Description Pacility Fee Deposit Due

29848 RIGHT ENDOSCOPIC CARPAL TUNNEL RELEASE @ pt

ANESTHESIA
General

 

 

 

ntitieaaaoga a 40D 416.90

CHECK PAYMENT AMOUNT: CASH PAYMENT AMOUNT: CREDIT CARD PAYMENT AMOUNT: Total

 

 

 

 

 

 

The abowe ESTIMATE OF FEE has been quoted for the procedure(s) which your are having done. If any additional procedures are added
or special equipment used such as laser, you will be billed accordingly. This fee does not include x-ray or lab work performed
outaide of the Surgery Center. Your anethesia services will be billed separately by the Anesthesiologist 's billing service.

tf your physician requests that a specimen be sent for analysis you will receive a separate bill from Quest Diagnostics.

Your Surgical Center fees are your personal obligation regardless of insurance coverage. If correct and accurate insurance
infoxmation is given we will attempt to verify insurance prior to surgery and file your claim for you. When verifying insurance
keep in mind chat this is only a statement of benefirs and not a guarantee of coverage. If your insurance covers at other than
100% you will be required to pay the amount not covered before your surgery. This can be paid by cash, check, Viea, MasterCard,
and Discover. .

We require that patients agree to pay reasonable attorney‘s fees and costs should it become necessary to enforce payment on a past
due accomt. We require you to pay your bill in full within 66 days of your date of service or make satisfactory arrangements with
our office to avoid collections before you account reaches 60 days old.

If any checks written to the Surgery Center are returned for insufficient funds there will be a $25.00 charge.
If you have an attorney handling your bilis due to an auto accident, personal injury, ect., we will he glad to provide them with

copies of bills. However, we are not party to your lawsuit and require that you pay your bills in full wichin 60 days of the date
of service.

said!

Keep in mind that we are a separate facility from the doctor's office and all fees quoted here 00 NOT include any of the doctor's fees.

 

Eb by ize lanta gery Center Austell to furnish information to insurance carriers or other necessary entities
concerning sy illness and treatment, and I hereby assign them all payments for madical services rendered to myself or my dependent.

THE FACT THAT I MAY OR MAY NOT BER COVERED BY INSURANCE DOES NOT RELIEVE MY PERSONAL OBLIGATION TO PAY ALL SURGICAL CHARGES.

If you have any questions regarding your account with OrthoAtlancta Surgery Center Austell please call (678}945-8551, Monday
through Priday frow 9:00a.m. ta 4:30p.m.

I have read and agree to all terms and conditions heretofore mentioned and acknowledge
receipt a copy of this agreement.

ls tool FA-/G

or Guarantor Date

       

 

Confidential Page 1 of 1 SourcePius EHR
Case 1:21-cv-00418-WMR-LTW Document1 Filed 01/27/21 Page 16 of 20

 

 

 

 

 

 

lease send payments to: department of service:

ORTHOATLANTA, L-L.C.  (OatHoaTLANTA Lic PAULDING eae

PO BOX 8327 148 Bill Carruth Pky#120 :

BELFAST, ME 04915-8300 HIRAM, GA 30141-3756

billing phone: (770) 953-6929 dept phone: (770) 445-5666
GUARANTOR NAME AND ADDRESS _ PATIENT #PATIENTNAME PROVIDER DATE _| TE __ DEPARTMENT
RONALD S ROYAL 907844 RONALD S ROYAL YONG S. LEE, MD 06/27/2019 PAULDING
7110 HIRAM DOUGLASVILLE HWY see .
DOE DEVILLE. GA s0sss sine DOB. _ TELEPHONE CURRENT INSURANCE CERTIFICATE# AUTH#

 
 
 
 
 
 
 
 

(404) 304-9203 BCBS-GA (POS) seeeee™*7035

PAYMENTS oN eee ae

- | Supervising ‘Reason For Payment : Method of .. “Amount
Provider Lo) =: "" Payment’:

 

 

 

 

 

 

 

06/27/2019 *SELF PAY* [0] rinneni titer? for plan MC & VISA ~ $439. 92
#403279 ESVEMG - seeeeseeseee7519
DEPOSIT
Total Payment Amount $439.92
UPCOMING APPOINTMENTS FORMDS __ So
Date _ Time “Location Provider = Appointment Type (Duration)
MON, JUL 01, 2019 03:45PM PAULDING DONALD FOWLER, II, MD Established (15 min)
Case 1:21-cv-00418-WMR-LIW Document. Filed 01/27/21, .Page 17 of 20

wen RAs

 

 

 

 

ORTHOATLANTA LLC HIRAM
148 Bill Carruth Pkwy
Suite 120
HIRAM, GA, 30141-3756
(770) 445-5666
Merchant ID: 8027901241 Transaction type: PURCHASE
Approval code: 050046 Date/time: 07/24/2019 03:46 PM EDT
Record number: 1035724 Type: Visa
Trace number: 523219 Account number: 9 **********##7599
Transaction reference number: 724194632 CHIP Cardholder name: RONALD ROYAL
Transaction identifier: 389205711923397 {Patient identifier. 907844
Application Label: VISA DEBIT
Te: 3B20BDFFFO3FFA31
TVR: 8080008000
AID: A0000000031010
Subtotal: 17.00
Sales Tax: 0.00
Total: 17.00
(customer copy)
lease send payments to: department of service: .
ORTHOATLANTA, ORTHOATLANTA, LLC PAULDING toeupentne
L.L.C. PO BOX 8327 148 Bill Carruth Pky#120 as
BELFAST, ME 04925-8300 HIRAM, GA 30141-3756
billing phone: (770) 953-6929 dept phone: (770) 445-5666
GUARANTOR NAME AND ADDRESS PATIENT # PATIENT NAME PROVIDER DATE DEPARTMENT
RONALD S ROYAL 907844 RONALDS ROYAL ERIC 1. FRANCKE, MD 07/24/2019 PAULDING

7110 HIRAM DOUGLASVILLE HWY

DOUGLASVILLE, GA 30134-5518 TELEPHONE CURRENT INSURANCE = CERTIFICATE# AUTH#

   
 

DO

| (404) 304-9203 BCBS-GA (POS) #8eREEEETIOIS
PAYMENTS ON 07/24/2019
Post Date Date of Diagnosis Procedure Original Supervising Reason For Payment Method of Amount
Service Codes Code a Provider Payment
Plan
07/24/2019 *SELF PAY* Prepayment for plan MC & VISA $17.00
[0] #406465 DME PAYMENT 9 ******** 8887519
Total Payment Amount $17.00
UPCOMING APPOINTMENTS FOR MDS
Date Time Location Provider Appointment Type (Duration)
THU, AUG 01, 2019 12:00 PM SURGERY DONALD FOWLER, ill, MD Austell ASC (60 min)
WED, AUG 14, 2019 03:00 PM PAULDING DONALD FOWLER, Ill, MD Post Op (15 min)

https//athenanet.athenahealth.com/327/68/biling/epaymentiepaymentreceipt.esp?APPOINTMENTID=&ATHENATRANSACTION=&COLLECTIONWI... 2f2
Case 1:21-cv-00418-WMR-LTW Document1 Filed 01/27/21 Page 18 of 20

  

 

 

Guarantor Name Ronald § Reval
ORTHO ATLANT. A Patient Account # 9078¢ £4327
Statement Date . 08/05/201¢
t Statu Charges $2,650.00
eo idea: Plea Previous Payments & Credits _ $0.00
é Payment Due Upon Receipt $2,650.00
PROFESSIGNAL FEES
= —- Ehaiges f for af Satviegs rendered by a previder, SUH as an examinatigh ar explanation af results. — = ———
PatientName ~_ Bravider Name Service Leeatian |
Renald Royal Denald 2. Fowler, II 44D OrehoAtlatite Surgery Genter Austelt
Coe =. ae Le a - he --.-Payments/ - .
Date Description _ Charge Status Cees Credits Patient Balance
08/01/2019 NDSC WRST SURG W/RLS TRANSVRS CARPL LIGM, $2,650.00
RIGHT SIDE
09/04/2019 . Insurance Company: BCBS-GA Info Required $0.00
Patient Balance - Misc. . ' $2,650.00
TOTAL PATIENT BALANCE $2,650.00

te me a ee ee nee seat a Mente mei mete

121091--291

Any dispute regarding this statement or any amounts due must be submitted in writing to:
P.O. Box 19000, Belfast, ME 04915-4085
Submitting payment in an amount less than the total on this statement shall not constitute an offer to settle any dispute, regardless of any accompanying communication.
 

Case 1:21-cv-00418-WMR-LTW Document1 Filed 01/27/21 Page 19 of 20-
ORTHOATLANTA, L.L.C. | ae sotunast win
Patient Account #: 907844A327
Statement Date: 10/29/2020
Your Account Status Charges . $2,540.00
Your health insurance has been billed correctly and the remaining Previous Payments & Credits $2,366.96
coinsurance is your responsibility. Total Balance $173.04
Payment Due Upon — oe

 
  

 

 

RonaldRoyal == - Yong S. Lee, MD. ee rae OrthoAtlanta - Paulding Office
Payments/
06/27/2019 OFFICE/OUTPATIENT VISIT, ESTABLISHED . $550.00 : i
10/28/2020 Credit - Insurance Payment: BCBS-GA PROCESSED -$152.94
10/28/2020 Credit - insurance Adjustment: BCBS-GA _ PROCESSED -$358.82
Patient Balance - COINSURANCE $38.24
06/27/2019 ELECTROMYOGRAPHY WHEN PERFORMED WITH $470.00
10/28/2020 Credit - Insurance Payment: BCBS-GA PROCESSED -$126.25
10/28/2020 Credit - insurance Adjustment: BCBS-GA PROCESSED -$312.19
Patient Balance - COINSURANCE $31.56
06/27/2019 NCS 13 OR MORE STUDIES $1,520.00
10/28/2020 Credit - Insurance Payment: BCBS-GA PROCESSED -$412.98
10/28/2020 Credit - Insurance Adjustment: BCBS-GA PROCESSED -$1,003.78
Patient Balance - COINSURANCE $103.24
TOTAL PATIENT BALANCE $173.04

 

Any dispute regarding this statement or any amounts due musi be submitted in writing to:
P.O. Box 19000, Belfast, ME 04915-4085
Submiiting payment in an amount less than the total on this statement shall not constitule an offer to settie any dispule, regardless of any accompanying communication,
ca

300371

3101

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GEORGIA ANESTHESIOLOGISTS, P.C.
Phi: (770) 784-0477

Please visit WWW.GASDOCS.COmM te view and pay this
bill online.

Patient: RONALD § ROYAL
Account #: 14870662
Reference #: 26876

Please Pay: $333.02

For Billing Questions Call: (770) 794-0477

 

 

 

 

: PROVIDER E DESCRIPTION _GHARGES GREDIT © BALANCE |
" o6/Otre048 HIGKs ANESTHESIA SERVICE i 1
os/o1/20%8 HICKS ANESTHEEIA SERVICES | 9910.00 8810.00
| oe/egpot6 HICKS DEDUCTIBLE AMOUNT: $900.60 : $810.00
09/26/2016 HICKS INSURANCE PAYMENT BY BCBS HMO g1az100=— «8777.80
oe/26y2018 HICKS GONTRAGTUAL ADJUSTMENT BY e448 «8338.02
BCBS HMO
i

 

 

 

/ oe Meee

fo IMPORTANT MESSAGE ABOUT YOUR ACCOUNT

Please make checks payable to:

- GEORGIA ANESTHESIOLOGISTS, P.c.
531 ROSELANE STREET
~ . SUITE 830
. MARIETTA,GA 30060
Ph: (770) 794-0477

 

7 » ce

RONALD SROYAL. —
7110 HIRAM DOUGLASVILLE HWY a
DOUGLASVILLE, GA 30134-5518

celta feflllyta lll only Mayol olf

 

mat) Vee

|" IMPORTANT NOTE: PAYMENT DUE IN FULL UPON REGEIPT OF STATEMENT. THI BILL I6 FOR PROFESSIONAL ANESTHESIA SERVICES
| RENDERED. THANK YOU.

{
_ Any balanes lefi after 30 days may accrue interest at a fate up te 18% per annum.

 

403667-GAANESSTM-676236-358176052-P; 1686766-1-107; 31113003-1: 1

PLEASE COMPLETE PAYMENT DETAIL BELOW BASED ON SELECTED METHOD

 

SELECT PAYMENT METHOD

 

 

 

 

 

   

 

{Please check if below address is incorrect and indicate change on reverse side.

   
 

= erehcane = “cone f Visa mp "ex Wee & ed oe
CARD NUMBER SIGNATURE CODE
SIGNATURE “| EXP DATE
STATEMENT DATE PAY THIS AMOUNT ACCT#
09/26/2019 $333.02 i 14870662

 

DUE UPON RECEIPT BuAMAAMaL UCU:

| PAID HERE

GEORGIA ANESTHESIOLOGISTS
PO BOX 161325
ATLANTA, GA 30321-1325

 
